                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )       MATTICE/CARTER
                                               )
         v.                                    )       CASE NO. 1:09-CR-98
                                               )
 RYAN SHARP                                    )



                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 25, 2010.

 At the hearing, defendant entered a plea of guilty to Counts One and Forty-Eight of the Sixty-

 Five Count Indictment in exchange for the undertakings made by the government in the written

 plea agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

 understands the nature of the charge and penalties provided by law; and that the plea has a

 sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Counts One and Forty-Eight of

 the Sixty-Five Count Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in Counts One and Forty-Eight of the Sixty-Five Count Indictment, and that the

 written plea agreement be accepted at the time of sentencing. I further recommend that

 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved


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 for the district judge.

         The defendant’s sentencing date is scheduled for Monday, August 30, 2010, at 9:00 am.




         Dated: May 25, 2010                   s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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